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                                                                       USDC SDNY
                                                                       DOCUMENT
                                                                       ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                       DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                       DATE FILED: 10/19/2020
------------------------------------------------------------------X
MERLIN MORENO-GRATINI,                                            :
                                                                  :
                                                    Plaintiff, :
                                                                  :        1: 19-cv-5964-GHW
                              -against-                           :
                                                                  :            ORDER
THOMAS STICHT, Superintendent Wyoming                             :
Correctional Facility                                             :
                                                                  :
                                                                  :
                                                 Defendant. :
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GREGORY H. WOODS, United States District Judge:

         On September 16, 2020 the Court directed the parties to confer as to whether they consent

to proceeding before the assigned Magistrate Judge, and to submit either an executed consent form

or a joint letter no later than October 16, 2020. Dkt. No. 22. Neither document has been

submitted. Accordingly, the parties are directed to comply with the Court’s September 16, 2020

order forthwith, and in no event later than October 30, 2020.

         The Clerk of Court is directed to mail a copy of this Order to Petitioner and file proof of

service on the docket.

         SO ORDERED.
                                                                      _____________________________
Date: October 19, 2020                                                     GREGORY H. WOODS
      New York, NY                                                         United States District Judge
